 Missing
Case:     Case Document:
      24-1828  Number:00118212408   Page: 1   Date Filed: 11/06/2024   Entry ID: 6680124
       24-1828
Case: 24-1828   Document: 00118212408   Page: 2   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 3   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 4   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 5   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 6   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 7   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 8   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 9   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 10   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 11   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 12   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 13   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 14   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 15   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 16   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 17   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 18   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 19   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 20   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 21   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 22   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 23   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 24   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 25   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 26   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 27   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 28   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 29   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 30   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 31   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 32   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 33   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 34   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 35   Date Filed: 11/06/2024   Entry ID: 6680124
Case: 24-1828   Document: 00118212408   Page: 36   Date Filed: 11/06/2024   Entry ID: 6680124
